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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                 CASE NUMBER:

                                                                            CR 19-642-VAP
                                           PLAINTIFF(S)
                          v.
IMAAD SHAH ZUBERI,                                                 NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

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December 13, 2019                                          Daniel J. O'Brien
Date                                                       Attorney Name
                                                           United States of America
                                                           Party Represented

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